          Case 3:23-cr-00112-CRS                     Document 1           Filed 10/04/23        Page 1 of 1 PageID #: 1

AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                             Oct 04, 2023

                                                                  for the
                                                    Western District
                                                   __________        of Kentucky
                                                              District  of __________

                  United States of America                            )
                             v.                                       )
                                                                      )      Case No. PM
                                                                      )
                    Jairo Jaime Tinajero                              )
                                                                      )
                                                                      )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of EHJLQQLQJLQ$SULOWKURXJK6HSWHPEHU   in the county of              Jefferson            in the
     Western           District of             Kentucky          , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. 844                                     Interstate Threats
18 U.S.C. 2251                                    Production of Child Pornography
18 U.S.C. 2261A                                   Stalking




         This criminal complaint is based on these facts:
See attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                                  /s/ Brandi Fowler
                                                                                                Complainant’s signature

                                                                                        Brandi Fowler, FBI Special Agent
                                                                                                 Printed name and title

Sworn to before me E\WHOHSKRQHLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI
                                                                  VRI
)HG5&ULP3

Date:             10/04/2023
                                                                                                   Judge’s signature

City and state:                         Louisville, Kentucky                         Regina S. Edwards, Magistrate Judge
                                                                                                 Printed name and title



        Print                        Save As...                   Attach                                                  Reset
